IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI

WESTERN DIVISION
In re:
Global Control Systems, Inc., Case No. 14-0657-CV-W-DGK
Plaintiff
VS.
Derek Francis Luebbert, et al.
Defendant.

MOTION TO QUASH AUGUST 8, 2024 WRIT OF EXECUTION

COMES NOW Defendant Derek Francis Luebbert (“Mr. Luebbert”), by and through
counsel Neil S. Sader and Stephen S. Krogmeier of Sader Law Firm, LLC and states as follows in
support of his Motion to Quash August 8, 2024 Writ of Execution:

Facts
1. On August 8, 2024, Plaintiff Global Control Systems, Inc. (“Plaintiff”) filed a Praecipe for

Writ of Execution and/or Garnishment requesting this honorable Court enter a Writ of

Execution against Mr. Luebbert for the sum of $655,509.04 with interest and costs as

computed by Plaintiff (Doc. 277; “Praecipe’’).

2. The Praecipe requests a Writ of Execution “for service on defendant/Judgment debtor,

Derek Francis Luebbert, 4103 Oak Street, Kansas City, MO 64111.”

3. The Praecipe does not request execution against or service upon “Control Loop.”
4. On August 8, 2024, this honorable Court issued the requested Writ of Execution.
5. On August 9, 2024, Plaintiff filed a Certificate of Service (Doc. 278; “Certificate of

Service”) stating the following documents “were served by mailing a copy thereof by

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United States Mail, postage prepaid on August 9, 2024, to [Mr. Luebbert, counsel for Mr.
Luebbert, and the U.S. Department of Justice]:”

Form USM-285

Praecipe for Writ of Garnishment

Writ of Execution

Notice of Garnishment and Summons of Garnishee

Notice to Garnishee/Employer

Interrogatories to Garnishee and Affidavit

Notice to Judgement Debtor re: Claims for Exemptions and
Request for Hearing

SNP eM PE

6. The aforementioned Notice of Garnishment and Summons of Garnishee, and
interrogatories to Garnishee and Affidavit are directed to “Control Loop c/o United States
Corporation Agents, Inc., 1028 N. Kingshighway St. Cape Girardau, MO 63701-3503.”

7. The aforementioned Notice to Judgement Debtor provides:

Please take Notice that a garnishment has been levied pursuant to an
execution issued in Case 14-0657-CV-W-DGK directed to the
garnishee Control Loop LLC, who is summoned as a garnishee . . .
8. On September 3, 2024, the registered agent for Control Loop received the following
documents, purportedly from deputy United States Marshall Korey Reichert:
a. Notice of Garnishment and Summons of Garnishee directed to Control Loop
b. Praecipe for Writ of Execution and/or garnishment “for service on
defendant/judgment debtor, Derek Francis Luebbert, 4103 Oak Street, Kansas City,
Missouri 64111.”
c. A Writ of Execution against “Derek Francis Luebbert”
d. Six pages of unknown documents
e. Notice to Garnishee/Employer
A true and accurate copy of these documents are attached hereto as “Exhibit A.”

9. No Process Receipt and Return, Certificate of Service, or any other verification of service

upon Control Loop has been filed with this honorable Court.

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Law
. “A federal writ of garnishment is generally governed by the law of the state in which the
district court sits. Rule 69 of the Federal Rules of Civil Procedure states that ‘[t]he
procedure on execution — and in proceedings supplementary to and in aid of judgment or
execution — must accord with the procedure of the state where the court is located, but a
federal statute governs to the extent it applies.’” Bell v. Hosier, 640 F. Supp.3d 998, 999
(D. Colo. Nov. 9, 2022) citing Fed. R. Civ. P. 69(a)(1).
Federal courts commonly quash writs of garnishment where the judgment creditor fails to
comply with state law requirements for garnishments. Jd. citing Real Good Techs., LLC v.
Victory Sols., LLC, No. 1:17-cv-0149, 2018 WL 1621163, at *2 (N.D. Ohio Apr. 4, 2018);
Fleet Cap. Corp. v. Bill Simon Equip., Inc., No. 3:05-cv-176-MJR, 2008 WL 11508959, at
*4 (S.D. Ill. Feb. 29, 2008), report and recommendation adopted, 2008 WL 11508960 (S.D.
Ill. Mar. 20, 2008).
In Missouri, “[a] garnishor’s failure to proceed as required by statute and rule constitutes
abandonment or discontinuance of a garnishment proceeding, and the circuit court loses its
jurisdiction to proceed.” Allison v. Tyson, 123 S.W.3d 196, 200 (Mo. App. W.D. 2003);
“Garnishment in aid of execution is a creature of statute in derogation of the common law
and thus strict compliance with all its requirements formerly by statute and now by rule is
essential.” Countryman v. Seymour R-II School Dist., 823 S.W.2d 515, 521 (Mo. App.
S.D. 1992).
. Pursuant to Mo Civ. P. 90.02 —
The clerk of the court that entered the judgment shall issue a writ of
garnishment if the garnishor files a written request stating:

a. That a judgment has been entered against the debtor and
remains unsatisfied;

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b. The judgment balance, as defined in section 408.040, and the
amount remaining unpaid;

c. That the garnishor knows or has good reason to believe that
the garnishee is indebted to debtor, that the garnishee is
obligated to make periodic payments to debtor, or that the
garnishee has control or custody of property belonging to
debtor...

14. Pursuant to Mo. R. Civ. P. 90.03 —

(a) The garnishee shall be served with summons and the writ of
garnishment by the sheriff. If the sheriff fails to obtain service
upon a request do to so, the garnishor may request the court to
appoint a special process server. The special process server shall
have the same duties as the sheriff with respect to service of
garnishments. In addition, service may be made upon an
employee of the garnishee designated to receive service or upon
the paying, disbursing, or auditing officer of the garnishee.
Return of service shall be made as provided in Rule 54.20.
The return date of the writ of garnishment, if applicable, shall be
set forth in the summons.

(b) Within five days of notice of service upon the garnishee, the
garnishor shall serve a copy of the summons and writ on the
judgment debtor by delivering it to the judgment debtor as
provided in Rule 43.01(c) or by mailing the documents to the
debtor’s last known address. Service by mail shall be complete
upon mailing. At the time of mailing, a certificate of service
shall be filed with the court. The certificate shall show the
caption of the case, the name of the party served, the date and
manner of service, the designation of the documents, and the
signature of the serving party or attorney.

(c)...

(d) All pleadings and papers subsequent to service of the
summons and writ of garnishment shall be served as
provided in Rule 43.01.

(emphasis added).
15. Pursuant to Mo. R. Civ. P. 54.20 —

(a) Within the State — Officer’s Returns — Affidavits of Service.

(1) Every officer to whom summons or other process shall be
delivered for service within the state shall make return thereof
in writing as to the time, place and manner of service of such
writ and sign such return.

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(2) If service of such process is made by a person other than an
officer such person shall make affidavit as to the time, place, and
manner of service thereof. . .

16. Under Missouri law, a return of service should be filed promptly after service of process.
Miller v. Agathen for Christen, 804 S.W.2d 849, 850-851 (Mo. Ct. App. E.D. 1991).
17. Pursuant to Mo. R. Civ. P. 90.035(a) —

Every writ of garnishment shall have clearly and legibly printed
thereon a notice to the person against whom the garnishment has
issued that:

1. A garnishment has been levied;
Certain funds may be exempted under sections
513.430 and 513.440, RSMo, or under Title 31
C.F.R. Part 212; and

3. The person has the right to hold the funds as exempt
from garnishment.

The notice shall also generally state there are certain exemptions
under state and federal law that the judgment debtor may be able to
claim with respect to the funds levied upon and describe the
procedure for claiming the funds as exempt.

(emphasis added).
18. Pursuant to Mo. R. Civ. P. 90.18 —

At any time after service of the summons and writ of garnishment,
but not later than 90 days after any specific payment shall have been
made by the garnishee to the garnishor with respect to that specific
payment, any person against whom such writ has been issued may
file with the issuing court a motion setting forth good cause why
such garnishment ought to be stayed, set aside, or quashed.
Reasonable notice of the time of the hearing on the motion shall be
given to all interested parties.

Argument
19. Plaintiff requested and was issued a Writ of Garnishment against Mr. Luebbert but served
Summons and a Notice of Garnishment addressed to Control Loop upon Mr. Luebbert and,

allegedly, Control Loop.

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20. No Writ of Garnishment has been issued by this honorable Court against Control Loop.

21. Therefore, Plaintiff's attempt to garnish Control Loop is inadequate and without lawful
authority.

22. Rule 90.02 requires a garnishor such as Plaintiff to make a representation to the Court “that
the garnishor knows or has good reason to believe that the garnishee is indebted to debtor,
that the garnishee is obligated to make periodic payments to debtor, or that the garnishee
has control or custody of property belonging to debtor” prior to issuance of a Writ of
Garnishment against a third-party garnishee such as Control Loop.

23. Plaintiff has not made the requisite Rule 90.02 representation to this honorable Court and,
therefore, Mr. Luebbert prays the August 9, 2024 Writ of Execution be quashed for
Plaintiff's failure to comply with the requisite Missouri garnishment procedure.

24. Rule 90.03(a) specifically requires service of summons and the writ of garnishment by the
sheriff. Then, if the sheriff fails to obtain service, garnishor may request the Court appoint
an alternate process server.

25. Plaintiff alleges service only by electronic mail and United States mail (upon Mr. Luebbert,
Mr. Luebbert’s counsel, and the United States Marshals Service) and, apparently, a request
to the United States Marshal’s service to serve Control Loop.

26. No attempt was made for service by the local sheriff's office upon either Mr. Luebbert or
Control Loop and, therefore, Plaintiffs attempt to garnish either entity is inadequate under
Rule 90.03(a).

27. To the extent that service was allegedly made upon Control Loop by the United States
Marshall Service on September 3, 2024, Plaintiff has failed to timely cause a Return of

Service be filed as required by Rule 90.03.

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28. Plaintiff failed to serve Mr. Luebbert within five days of alleged service upon Control Loop
as required by Mo. R. Civ. P. 90.03(b).

29. To the extent Plaintiff argues the August 8, 2024 Writ of Execution was directed to Mr.
Luebbert, the Notice of Garnishment provided to Mr. Luebbert is directed to Control Loop,
not Mr. Luebbert. No Notice compliant with Rule 90.035(a) and identifying Mr. Luebbert
as the person against whom garnishment has been served upon Mr. Luebbert. Therefore,
Plaintiff's attempt to garnish Mr. Luebbert is inadequate under Rule 90.035.
WHEREFORE, Defendant Derek Francis Luebbert respectfully requests this honorable

Court quash its August 8, 2024 Writ of Execution for Plaintiff Global Control Systems, Inc.’s
failure to comply with Missouri Rules of Civil Procedure, and for such other relief this honorable
Court deems just and proper.
Respectfully Submitted,
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CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing was served upon all appropriate
parties, electronically by the U.S. District Court's ECF system on November 11, 2024.

s/ Stephen S. Krogmeier
Stephen S. Krogmeier

https://saderlawfirm.sharepoint.com/sites/SLFDocuments/Shared Documents/BankruptcyCurrent/2016 Bankruptcy
Cases/Luebbert, Derek Francis/Rule 69 Hearing and Execution Matters/2024.11.11 - Motion to Quash.docx

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